      Case 2:23-cv-00118-KHR         Document 174       Filed 02/19/25   Page 1 of 8




Timothy M. Stubson, Wyo. Bar. No. 6-3144
Holly Tysse Wyo. Bar. No. 7-5553
Brandon E. Pryde Wyo. Bar. No. 8-6883
Crowley Fleck, PLLP
111 West 2nd Street, Suite 220
Casper, WY 82601
(P) 307-265-2279
tstubson@crowleyfleck.com
htysse@crowleyfleck.com
bpryde@crowleyfleck.com

and

Eugene M. LaFlamme (admitted pro hac vice)
Jared B. Giroux (admitted pro hac vice)
Jillian L. Lukens (admitted pro hac vice)
McCoy Leavitt Laskey LLC
N19 W24200 Riverwood Drive, #125
Waukesha, WI 53188
(P) 262-522-7000
elaflamme@MLLlaw.com
jgiroux@MLLlaw.com
jlukens@MLLlaw.com

Attorneys for Defendants,
Walmart Inc. and Jetson Electric Bikes, LLC

                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF WYOMING


 STEPHANIE WADSWORTH                              )
 Individually and as Parent and Legal Guardian    )   Case No. 2:23-cv-00118-NDF
 of W.W., K.W., G.W., and L.W., minor children    )
 and MATTHEW WADSWORTH,                           )   DEFENDANTS JETSON
                                                  )   ELECTRIC BIKES, LLC AND
        Plaintiffs,                               )   WALMART INC.’S OPPOSITION
                                                  )   TO PLAINTIFFS’ REQUEST FOR
 v.                                               )   JUDICIAL NOTICE NUMBER 1
                                                  )
 WALMART INC. and                                 )
 JETSON ELECTRIC BIKES, LLC,                      )
                                                  )
        Defendants.                               )




                                              1
       Case 2:23-cv-00118-KHR            Document 174        Filed 02/19/25       Page 2 of 8




       Defendants, Jetson Electric Bikes, LLC and Walmart Inc., respectfully request that this

Court deny Plaintiffs’ Request for Judicial Notice Number 1 pursuant to Federal Rules of Evidence

201 Exhibits A through C of their Request relate to disputed adjudicative facts rendering judicial

notice improper.

                                         BACKGROUND

       This case involves a February 1, 2022 residential fire at the Wadsworth residence in Green

River, Wyoming. The first report of fire was between 4:00 a.m. – 4:30 a.m. The primary liability

dispute is whether the fire originated in G.W. and L.W.’s bedroom at a Jetson Plasma hoverboard

by the bedroom door (as Plaintiffs contend) or whether the fire originated at a smoking shed that

was located outside the residence by G.W. and L.W.’s bedroom window (as Defendants contend).

(Doc. 3). If the fire started at the hoverboard as Plaintiffs allege, then the fire would have had to

travel from the hoverboard to the bedroom window. Between the hoverboard and the window,

however, was the bunk bed where G.W. and L.W. were sleeping. G.W. and L.W. were not injured

in the fire and exited their bedroom through their bedroom door – right next to the hoverboard.

       The smoking shed was used by Mr. and Mrs. Wadsworth during the winter months to

provide cold and wind protection while they smoked cigarettes. Mrs. Wadsworth smoked in the

smoking shed just prior to 2:00 a.m. on February 1, 2022, before she went to bed. (Ex 1: S.

Wadsworth Dep. 89:17-90:8).

       The fire scene was fully processed at the August 2-3, 2022 site inspection. This included

marking search grids for the areas of interest, which included all of G.W. and L.W.’s bedroom and

the outside smoking shed area. (Ex 2: Schulz Dep. 34:9-35:17). The fire debris from each of these

search grids, along with other items of interest, were put into plastic bins to be sifted and evaluated




                                                  2
       Case 2:23-cv-00118-KHR             Document 174         Filed 02/19/25       Page 3 of 8




at the evidence inspection. (Ex.3: Evidence Logs). In total, 71 different items or individual fire

debris bins were retained for further investigation. (Id).

        Plaintiffs’ origin and cause expert, Michael Schulz, did not attend the August 2-3, 2022

site inspection. (Ex.2: Schulz Dep. 29:16-20). Nonetheless, Schulz acknowledged that a fire

initiating from the careless disposal of cigarettes can be a “smoldering type fire”. (Id. at 136:9-14).

A “smoldering type fire” is a fire that could initiate a lengthy period of time after the actual careless

disposal of smoking materials (i.e. cigarettes). (Id. at 136:16-21). Schulz further acknowledged

that a lapse of two to three hours between the careless discard of a cigarette and the fire ignition is

not unusual. (Id. at 136:22-137:5). Specifically, Schulz stated that the evidence of a cigarette butt

or carelessly discarded smoking materials would be subsumed within the fire damage material

resulting in a failure to identify the specific cigarette that was carelessly disposed of. (Id. at 204:16-

205:16).

                                        LEGAL STANDARD

        Judicial Notice is the court’s recognition of the existence of a fact without the necessity of

formal proof. The Federal Rules of Evidence only govern judicial notice of an adjudicative fact,

and not a legislative fact. Fed. R. Evid. 201(a). Adjudicative facts are the facts of the particular

case that would go to the trier of fact. Whereas legislative facts “are those which have relevance

to legal reasoning and the lawmaking process, whether in the formulation of a legal principle or

ruling by a judge or court or in the enactment of a legislative body.” See Advisory Comm. Note

(a) to Fed. R. Evid. 201(a).

        Under the Federal Rules of Evidence, the court may only judicially notice a fact that is not

subject to reasonable dispute because it: (1) is generally known within the trial court's territorial

jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy cannot



                                                    3
       Case 2:23-cv-00118-KHR            Document 174          Filed 02/19/25      Page 4 of 8




reasonably be questioned. Fed. R. Evid. 201(b); see also United States v. Boyd, 289 F.3d 1254,

1258 (10th Cir. 2002). A fact is within the common knowledge when most people in the

jurisdiction would be aware of such a fact. See Brown v. Piper, 91 U.S. 37, 42 (1895). Rule 201

authorizes a court to take judicial notice solely of adjudicative facts, as opposed to legislative facts.

        Whether evidence is an adjudicative or legislative fact depends on the manner in which it

is used. For example, a legal rule may be a proper adjudicative fact for judicial notice if offered to

establish the factual context of the case, but not to state the governing law, i.e. a legislative fact.

See Toth v. Grand Trunk R.R., 306 F.3d 335 (6th Cir. 2002) (“[J]udicial notice is generally not the

appropriate means to establish the legal principles governing the case.”).

        Here, Plaintiffs are asking the Court take judicial notice of three broad documents, not

facts, for the sole purpose of proving the truth of the matter asserted (that a smoldering cigarette

allegedly could not be the origin and cause of the Wadsworth’s fire):

            1. Wyoming Statutes §§ 35-9-801 through 35-9-811: Wyoming
               Reduced Cigarette Ignition Propensity Act;

            2. Wyoming Statute §35-9-803: American Society of Testing and
               Materials (ASTM) Standard E2187-04 (2004) “Standard Test
               Method for Measuring the Ignition Strength of Cigarettes”; and

            3. New York State Fire Safety Standards for Cigarettes, New York
               Executive Law, Section 156-C and Part 429 of Title 19 New York
               Codes, Rules, and Regulations as of March 1, 2008.

Doc. 151, pg. 3. Plaintiffs’ request for judicial notice is improper because it seeks to admit into

evidence documents in support of its claims that are disputed, irrelevant, and time-barred.

                                            ARGUMENT

I.      Judicial Notice is Improper When Adjudicative Facts Are Disputed.

        Judicial notice is only proper when adjudicative facts are undisputed. Fed. R. Evid. 201;

21 C. Wright & K. Graham, Federal Practice and Procedure: Evidence § 5104 at 485 (1977 &

                                                   4
       Case 2:23-cv-00118-KHR             Document 174         Filed 02/19/25       Page 5 of 8




Supp.1994). To be undisputed, the fact must be a piece of information that all parties accept as

true. Here, Plaintiffs submit three documents in an attempt to discredit Defendants’ defense that

the subject fire was caused by smoking material (i.e. a cigarette). In doing so, Plaintiffs seek to use

the Court to introduce reasonably disputed evidence rather than utilizing the trial-type procedure

of taking evidence subject to cross examination and rebuttal to resolve controversies or disputes.

Fed. R. Evid. 201, Adv. Comm. Notes.

        Additionally, Plaintiffs’ own fire origin expert, Michael Schulz, contradicts the contents of

Exhibits A and B to Plaintiffs’ Motion for Judicial Notice (Doc. 151), as well as the truth of the

matters asserted. Schulz conceded at his deposition on September 10, 2024 that a smoldering

cigarette could have caused the fire. (Ex. 2: Schulz Dep. 136:9-137:5). He further acknowledged

that there is a high likelihood of a smoldering type fire from the careless disposal of smoking

material (i.e. a cigarette) (Id. at 136:9-14), and that a fire could result from a smoldering cigarette

event after a lengthy period of time between the actual careless disposal of the cigarette – similar

to the approximate two to three hours that occurred between the time Stephanie Wadsworth had

her last cigarette and the identification of the fire in this case. (Id. at 136:16-21).

        If Exhibits A and B were to be taken as true and admissible, which Defendants deny,

Plaintiffs would require an expert to opine as to the contents of the documents and the application

of the contents to the present case. Plaintiffs do not have an expert on this issue, and in fact, have

an expert who directly contradicts the theory Plaintiffs’ attempt to introduce through these

materials. Whether a carelessly discarded cigarette, regardless of whether or not it met Wyoming

Statutes §§ 35-9-803 and 35-9-801 through 35-9-811, would influence the possibility of a

smoldering fire calls for expert testimony as it is outside the common knowledge of a lay person.

Plaintiffs did not retain any expert to evaluate the proffered exhibits and how they may, or may



                                                    5
          Case 2:23-cv-00118-KHR                 Document 174           Filed 02/19/25       Page 6 of 8




not, be relevant to whether a carelessly discarded cigarette could have smoldered and caused this

fire.

           Further, the time to identify experts on this issue has long passed.1 2 If this Court were to

grant Plaintiffs’ Request for Judicial Notice it would be permitting Plaintiffs’ counsel to step into

the shoes of an undisclosed expert and provide testimony, without evidentiary support, as to the

truth of the matter asserted (i.e. the document contents). To do so would create indisputable harm

and prejudice to Defendants in violation of Federal Rules of Evidence 402 and 702.

           As such, because Plaintiffs cannot meet their burden for judicial notice as to Exhibits A

and B, their request should be denied.

II.        Judicial Notice is Improper for Legislative Facts or Secondary Sources.

           Even if the Exhibits Plaintiffs submit for judicial notice were undisputed adjudicative facts,

which these Defendants deny, Plaintiffs’ request is still improper because it asks this Court to take

judicial notice of legislative facts.3 Legislative facts are those documents relevant to the lawmaking

process and legal reasoning process. Just as Rule 201 does not permit the Court to take judicial

notice of disputed facts, the Court is also not permitted to take judicial notice of legislative facts.

Fed. R. Evid. 201, Adv. Comm. Notes.

           Further, Exhibit C to Plaintiffs’ Request for Judicial Notice relates to New York State Fire

Safety Standards for Cigarettes, not Wyoming, which is both irrelevant and non-persuasive.




1
    The deadline for Plaintiffs to name expert witnesses was July 15, 2024.
2
    Plaintiffs’ motion to amend expert disclosures was denied by this Court on November 18, 2024. (Doc. 93)
3
 Wyoming Statutes §§ 35-9-801 through 35-9-811 (Wyoming Reduced Cigarette Ignition Propensity Act), Wyoming
Statute § 35-9-803 (American Society of Testing and Materials Standard E2187-04 (2004)), and New York State’s
Fire Safety Standards for Cigarettes, New York Executive Law, Section 156-C and Part 429 of Title 19 New York
Codes, Rules, and Regulations

                                                            6
      Case 2:23-cv-00118-KHR           Document 174        Filed 02/19/25    Page 7 of 8




Further, if Plaintiffs intended to introduce evidence of New York State’s Cigarette Standards, it

would require expert testimony, which has not been produced or identified to date.

       As such, because Plaintiffs cannot meet their burden for judicial notice as to Exhibits A

through C their Request should be denied.

                                        CONCLUSION

       For the reasons set forth above, Defendants respectfully request that the Court deny

Plaintiffs’ Request for Judicial Notice (Doc 151).

                                             McCOY LEAVITT LASKEY LLC

                                             Attorneys for Defendants, Jetson Electric Bikes,
                                             LLC and Walmart Inc.


Dated: February 19, 2025                     By:
                                                     Eugene M. LaFlamme (pro hac vice)
                                                     Jared B. Giroux (pro hac vice)
                                                     Jillian L. Lukens (pro hac vice)
                                                     McCoy Leavitt Laskey, LLC
                                                     N19 W24200 Riverwood Drive, Suite 125
                                                     Waukesha, WI 53188
                                                     (P) 262-522-7000
                                                     elaflamme@MLLlaw.com
                                                     jgiroux@MLLlaw.com
                                                     jlukens@MLLlaw.com

                                                     and

                                                     Timothy M. Stubson, Wyo. Bar No. 6-3144
                                                     Brandon E. Pryde, Wyo. Bar No. 8-6883
                                                     Holly L. Tysse, Wyo. Bar No. 7-5553
                                                     Crowley Fleck, PLLP
                                                     111 West 2nd Street, Suite 220
                                                     Casper, WY 82601
                                                     (P) 307-232-6901
                                                     tstubson@crowleyfleck.com
                                                     bpryde@crowleyfleck.com
                                                     htysse@crowleyfleck.com




                                                7
     Case 2:23-cv-00118-KHR           Document 174        Filed 02/19/25   Page 8 of 8




                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on February 19, 2025, a true and correct copy of the foregoing

was electronically served to all counsel of record.




                                                      EUGENE M. LaFLAMME, Esq.




                                                8
